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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

5171 CAMPBELLS LAND CO., INC.,                   Bankruptcy No. 19-22715-CMB

              Debtor,                            Chapter 11

5171 CAMPBELLS LAND CO., INC.,                   Document No.

              Movant,
       vs.

NO RESPONDENT.

  APPLICATION FOR APPROVAL OF COMPASS ADVISORY PARTNERS, LLC AS
    CHIEF RESTRUCTURING OFFICER NUNC PRO TUNC AS OF JULY 8, 2019

       AND NOW comes 5171 Campbells Land Co., Inc., by and through its Counsel,

Robert O Lampl, John P. Lacher, David L. Fuchs, Ryan J. Cooney and Sy O. Lampl and

files the following APPLICATION FOR APPROVAL OF COMPASS ADVISORY

PARTNERS, LLC AS CHIEF RESTRUCTURING OFFICER NUNC PRO TUNC AS OF

JULY 8, 2019:

       1.     The Movant is 5171 Campbells Land Co., Inc., the Debtor in this Chapter

11 Case.

       2.     This Case was commenced on July 8, 2019.

       3.     The Debtor is in need of services of a Chief Restructuring Officer to assist

in, among other things, the administration of its Estate and to oversee the following:

              a.     The commencement of the Chapter 11 filing, the completion of all

required Chapter 11 schedules and the Statement of Financial Affairs, and the

development of an appropriate strategy to refinance/upgrade most of the Debtor’s

restaurants or to sell the same as a going-concern;
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             b.     The development of a DIP budget to provide a framework for

management of all week-to-week cash receipts and cash disbursements during this

Chapter 11 process (and to negotiate DIP financing as needed);

             c.     The negotiation of resolutions with its secured lender (Store

Capital), its primary landlord (Store Capital), its other landlords and its franchisor

(Perkins/Marie Callender’s) in order to facilitate the continued operations of the

profitable restaurants and maintain as many of the current jobs as possible until an

acceptable refinancing transaction or subsequent sale of these restaurants can be

completed during the Chapter 11 process;

             d.     The development of an operating plan for these restaurants during

the next 90-120 days (or as long as may be necessary during this Chapter 11 Process)

and to provide support to the existing operations team and financial team;

             e.     The direct oversight and control of all cash receipts and cash

disbursements for the Debtor’s restaurants and for all other operating expenses of the

Debtor;

             f.     The direct oversight of the ongoing administration/monthly reporting

to the Bankruptcy Court during this Chapter 11 case;

             g.     The     evaluation     of   strategies   and     options    regarding

refinancing/restructuring during this Chapter 11 case;

             h.     The evaluation of all cash offers related to the sale of the Debtor’s

restaurants during this Chapter 11 case;

             i.     The review of all claims filed by Creditors in this Chapter 11 case;
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              j.     The review of possible causes of action that may become part of

the pool of assets for further evaluation by the Debtor’s creditors;

              k.     The coordination and formulation of an appropriate plan or

reorganization/liquidation and disclosure statement for approval by the Bankruptcy

Court; and

              l.     The offering of testimony for the Bankruptcy Court throughout this

Chapter 11 case.

       4.     Compass advisory Partners shall have full authority regarding the

following:

              a.     The hiring and firing of all employees and other budgetary matters,

including validation of all weekly budgets and monthly financial projections; and

              b.     The approval of all payments to vendors, professionals and other

payments in conjunction with the DIP budget during the Chapter 11 case;

       5.     The Debtor wishes to retain Compass Advisory Partners, LLC

(“Compass”) under the terms and conditions set forth in the letter of representation, an

executed copy of which is attached hereto as Exhibit A.

       6.     The Debtor has selected Compass Financial Advisors, LLC to serve in the

role of Chief Restructuring Officer in this chapter 11 case based on the firm’s previous

experience with operational and financing issues facing distressed companies and

insolvent businesses. Compass is a recognized financial advisory services firm with

extensive experience in bankruptcy and reorganization proceedings, including, without

limitation, representing debtors, debtors-in-possession, trustees, creditors and creditors’

committees, and others in chapter 11 and chapter 7 cases. Its practice spans many
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other areas of business, including, without limitation, oil & gas related companies, coal-

mining companies, construction contractors and a variety of industrial manufacturing

and distribution companies in the U.S. Compass is also experienced with

mergers/acquisitions/divestitures and it employs corporate finance specialists who can

develop and implement refinancing strategies and asset-sale strategies, as needed.

Compass’s professionals have been successfully engaged in chapter 11 cases filed in,

but not limited to, the United States Bankruptcy Courts in Pittsburgh, Pennsylvania;

Erie, Pennsylvania; Scranton, Pennsylvania; Youngtown, Ohio; Columbus, Ohio;

Wheeling, West Virginia; and Lexington, Kentucky.

       7.     The Debtor believes that Compass is experienced in these matters and is

well qualified to perform all of the foregoing services necessary and required by the

Debtor.

       8.     Compass does not have any connection with the Debtor nor represents

any interest adverse to the Debtor or any other party-in-interest except as set forth in

the attached Verification Statement Pursuant to Bankruptcy Rule 2014.

       WHEREFORE, the Debtor respectfully requests that this Honorable Court

approve Compass Advisory Partners, LLC as Chief Restructuring Officer, nunc pro tunc,

as of July 8, 2019.
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                                               Respectfully Submitted,



Date: July 10, 2019__                          /s/ Robert O Lampl
                                               ROBERT O LAMPL
                                               PA I.D. #19809
                                               JOHN P. LACHER
                                               PA I.D. #62297
                                               DAVID L. FUCHS
                                               PA I.D. #205694
                                               RYAN J. COONEY
                                               PA I.D. #319213
                                               SY O. LAMPL
                                               PA I.D. #324741
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IN RE:

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              Debtor,                          Chapter 11

5171 CAMPBELLS LAND CO., INC.,                 Document No.

              Movant,
       vs.

NO RESPONDENT.

                              CERTIFICATE OF SERVICE

       I, Robert O Lampl, hereby certify, that on the 10th day of July, 2019, a true and

correct copy of the foregoing APPLICATION FOR APPROVAL OF COMPASS

ADVISORY PARTNERS, LLC AS CHIEF RESTRUCTURING OFFICER as served

upon the following (via electronic service):

Norma Hildenbrand
Office of the U.S. Trustee
970 Liberty Center
1001 Liberty Avenue
Pittsburgh, PA 15222
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Date: July 10, 2019                          /s/ Robert O Lampl
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